           Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 1 of 37 Page ID #:1



  ~.~~ C                                                                               ~p^ 1J1/~~
                                                                                       ~i                                    CLERK, U.S. DISTRICT COURT
      t~~-
  I,PRIJUN    22~h ~o
           [DE~'TIFIC.~T?OV/BOOKING ti'O.
                                                                                                                                    ,~~AN - 7 2019
       ~                      ~ lI1 ~    ~ t2~txn o
  ~1UI~iZ1:JJ UR PLACL; UP CUtiP[~E~I ,V
                                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
'1                                                                                                                        e.... _

  d ote:      [t is your respons ility to notify the Clerk of Courtin writin~~f any
              change of addrzss. If represented by an attorney, provide his or her
              name, address, telephone and facsimile numbers, and e-mail address.


                                                      UNITED STATES DISTRICT COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                      CASE NL'~IBER:

                                                                                      C~19-40 14-~P-
                                                                                               To be supplied by the Clerk of the United States District ourt
  FULL ~~~(n (Ins u~~~ name snider which you were      ~ivicted )
                                                                      Petitioner,


                                                                                                                                    AMENDED

                                                                                           PETITION FOR WRIT OF HABEAS CORPUS
                                                                                              BY A PERSON IN STATE CUSTODY
                            ~\                   1
  h.~~[E OF WARDEN,SUPER .-Tb~DENT,J.aILOR, OR AUTHORIZED                                              28 U.S.C.§ 2254
  PERSON H.~VING CL'S'I'OD OF YETII'IONER
                                                                    Respondent        PLACE/COL'~TY OF CONVICTION
                                                                                      PREVIOUSLY FILED, R L,~TED CASES I~ THIS DISTRICT CO CRT
                                                                                      (List bye case member)
                                                                                      Cv
                                                                                      C`'


                                            INSTRUCTIONS -PLEASE READ CAREFULLY
       1. To use this form, you must be a person who zither is currently serving a sentence under a judgment against you in a California
state court, or will be serving a sentence in the future under a judgment against you in a GaliEornia state court. You are asking for relief
from the conviction and/or the sentence. This form is your petition for relief.
      2. In this petition, you may challenge the jud;ment entered by only one California state court. If you want to challenge
 judgments entered by more than one California state court, you must file a separate petition for each court.
      3. Make sure the form is typed or neatly handwritten. You must tell the truth and sign the form. If you make a false statement
 of a material fact, you maybe prosecuted for perjury.
      4. Answer all the questions. You do not need to cite case law, but you do need to state the federal ]egal theory and operative facts
 in support of each ground. You may submit additional pages if necessary. If you do not fill out the form properly, you will be asked to
submit additional or correct information. It you want to submit a legal brief or arguments, you may attach a separate memorandum.
      5. You must include in this petition all the grounds for relief from the conviction and/or sentence that you challenge. You must
 also state the facts that support each ground. If you fail to set Eorth all the grounds in this petition, you may be barred from presenting
 additional grounds at a later date.
      6. You must pay a fee of $x.00. If the fee is paid, your petition will be filed. If you cannot afford the fee, you may ask to proceed
 informa ~ntsperis (as a poor person). To do that, you must fill out and sign the declaration of the last two pagzs of the form. Also, you
 must have an authorized officer at the penal institution complete the certificate as to the amount of money and securities on deposit to
your credit in any account at the institution. If your prison account exceeds $?5.00, you must pay the tiling fee.
      7. When you have completed the form, send the original and two copies to the following address:                                      ---
                                                                                                                                    LODGED
                              Clerk of the United States District Court for the Central District of California         CiE1~K, U.S DISTFiCT COURI
                              United States Courthouse
                              ATT~: Intake/Docket Section
                              2~5 East Temple Street, Suite TS-13~                                                        ..~,r
                                                                                                                             ' ,~~~ -- ~ 2~
                              Los Angeles, California 90012
                                                                                                                                     CENTRAL Il~tirkiGT OFC4L~fQRN~q
           ;1~1                                           HABEAS CORPCS BY A PERSON [~ STA
           Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 2 of 37 Page ID #:2


  PLE,~,SE CO~[PLETE THE FOLLO`VI~G (check appropriate number):

       This petition concerns:
       L ~ a conviction and/or sentence.
       2. ❑prison discipline.
       3. ❑ a parole problem.
       4. ❑other.

                                                                         PETITIO~i

       L    Venue
            a.   Place of detention
            b. Place of conviction and sentence


      ?.    CoC1vlCtlon on w}11C~1 the pztltion is based (u sepurate petition ~mi;t be filedfur eird~ cmiviction Gei~iy uthiike~li.

            3.   ~i3tUle Of OtferiSeS IIIVOIVeC~ {irldude nll counts) : ~Y ,~ ,~ S ~ ~~~~P                          ~ ~~

                 %~    1 t— ~ -~S~ ~P~ ~~-P                 ~Ul~ ~A ~G.rte/



            b. Penal or other code sectionor sections: ~ 1~~e~ ~ ~~                                    ~ ~ y S~              ~c       j~~~~~
                 1 ~.t~ 22, 1               PC

           c. Case number: ~fj~ ~ vu~~ ~,,. p l
           d. Date of conviction: y _ 2
                                      2 _ ~~
           e. Date of sentence: L~ _ 22- 1 5
           f.    Length of sentence on each count: ~~ ~ ~~ ,r$                           2.~ ~ ~        ,,,~,~~,~s. 1~ •,) 1 t ~ ~.,~, .~~ _~-,s


           g.    Plea (check one)

                 ❑ Not guilty

                 ❑ Guilty

                      Nolo contendere
           h. Kind of trial ~~ke~h o~~~)

                 ❑ lury

                 ❑ Judge only


     3. .Did you appeal to the California Court of Appeal from the judgment of conviction?                                     ~ Yes ❑ No
           If so, give the following information for your appeal ~n,r~t «rr«~H ~~ ~op;~ ofrE~t c~«rr oj.appe~,~ ~~~rs,o„ ~j~r,-nr<«b~e):
           a. Case number: ~~
                           j2rrz,$q g Fj
           b. Grounds raised~~,;r~uthJ:




C~"-o9 10~,!31              PETITIOY FOR VV"RIT OF H~SE.~S CORPCS BY ~ PER50~[Y STATE CUSTODY (28 ti.S.C. 9 2'_5-~)                         Page 1 of 11
         Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 3 of 37 Page ID #:3


                  (3)
                   ~~)
                  ~~)
                  (6)
            c. Date of decision:
            d. Result i.~ _ _




      -~. If y-ou did appeal, did you also file a Petition for Review with the California Supreme Court of thz Court of Appeal
            decision? ( Yes                  ❑ No
            If So, give t11z f011oWirib lIlfoCm3tlori (arid uttaJi iopfes of the Petition for Review and the Supreme Court ruliiiy if avezilable):

           a.     Case number: `~2~~(~ G~ 2
            b. Grounds raised ~I~sre«~a,~:

                 (1)L ct~~ ~` ~ ~ ,c r~-~ a ~G.,r,~'t -t-v                                                ~~.~~\n r 1~,~P          r~'~~~ sty
                 (~)
                 (3)

                  ~`~)
                 (5)
                 (6)
           c. Date of decision: ~~ ~-. 2~                                2(j~ 42.
           d. Result (~'~ n '~ A~~ (G-~-~ ~~ t~~




     5. If you did not appeal:
           a. State your reasons ~ ~~
                                                     r




           b. Did you seek permission to file a late appeal?                            ❑Yes         ~f No


     6. Hare you previously filed any habeas petitions in any state court with respect to this judgment of conviction?
           ❑ Yes          ~Sl No
          It SO, b1Ve Cale fO110Wlrib IIltOCIIldtlOri tOI edCll SllC~l p~tltlOri (use additional pnges, ifnecessary, mid nttuch topics of[{i~petitions and [he

          rulinbs on the peti[ion~ if aveiifa6le):

          a. (1) Name of court:
                 (2) Case number:
                 ~3~ ~aC2 tllzC~ (ar if mailed, the date the petitiu~i was turned over to the prisor2 authoritir;jor mailirtK):

C~'-~y iU~,:3i                PET[TIO` FOR ~V RiT OF H~BE.~S CORPCS BY A PERSON IY ST.~i'E CCSTODY ('3 C.S.C. 9'-'-~~)                               Pa,~ 3 of 1 l
          Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 4 of 37 Page ID #:4


                   (~) Grounds raised!Ir>rzad,~:
                          (a)
                          (b)
                          (c)
                          (d)
                          (e)

                           ~~
                  (5) Dace of decision:
                  (6) Result


                  (7) Vas an evidentiary hearing held?                         ❑ Yes        ❑ No


            b. (1) Name of court:
                 (2) Case number:
                  ~3~ ~3te f112d iur if moiled, the date the pe!:tian was tuned over to the prison iu~tftorities for nutilirtg):

                 (~) Grounds raised Q;s~ ead~):

                         (a)
                         (b)
                        (c)
                         (d)
                        (e)
                        (t)
                 (5) Date of decision:
                 (6) Result


                 (7) Vas an evidentiary hearing held?                         ❑Yes         ❑ No


           c. (1) I~'ame of court:
                 (2) Case number:
                 ~3~ ~3Cz f112d (or if moiled, the ~~utt the petition was trirned orer to the prison authoritiesjor maili~~y):

                 (~) Grounds raised p,;r~q~h~:
                       (a)
                        (b)

                       (~)
                         ~a~
                       (e)
                       (t)


C~"-oy (u~, 3i                 PETITIO\ FOR ~~"AIT OF H.~BE.~S CORPCS BY',1 PERSO\ 1~ STATE CL"~TODY (23 l'.S.C. 2_'S-1)
                                                                                                                9                  Pa;e ~ of 11
                    Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 5 of 37 Page ID #:5


                      (5) Date of decision:
                      (6) Result



                     (7) Vas an evidentiary' hearing held?          ❑Yes ❑ No


         7.        Did you file a petition for certiorari in the United States Supreme Court?              ❑ Yes                     ~ No
                           If yes, answer the following:

                          (1) Docket ar case number (if you know):

                          (2) Result:



                          (3) Date of result (if you know):

                          (~) Citation to the case (if you know):



        8. For this petition, state e~-ery ground on which y-ou claim that you are being held in violation of
                                                                                                              the Constitution,
              laws, or treaties of the United States. Attach additional pales if you have more than five grounds. Summarize
              briefly the facts supporting each ;round. For example, if you are claiming ineffective assistance of counsel, you
              must state facts specifically setting forth what your attorney did or failed to do.
              CAUTION:             Exlinu~tion Reclz~irenient: In order to proceed in federal court, you must ordinarily first e_Yhaust
                                   your state court remedies with respect to each ground on which you are requesting relief from the
                                   federal court. This means that, prior to seeking relief from the federal court, you first must
                                   present all of your grounds to the California Supreme Court.

              a. Ground one:


                    (1) Supporting F:~CTS: ~, ~}}—~,~. ~P c~




                    (2) Did you raise this claim on direct appeal to the California Court of Appeal?                           Yes     ❑No
                    (3) Did you raise this claim in a Petition for Review to the California Supreme Court?                  [ `Yes     ❑No
                    (~4) Did you raise this claim in a habeas petition to the California Supreme Court?                       ,Yes     ❑ No


           [7
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                    ~ i~ ~upporung tit_ i ~:    ~. ~~1~ ~ ,
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                       '
                       ` PP             (,'~['' C           PL




C~'-6y (~_, 13 ~              PETIT[OV' FOR ~VR[T OF H.aBE_~S CORPUS BY a PER~O~ Iii STATE CUSTODY (~3 C.S.G
                                                                                                               9 -'-'~-~)              Page S of ll
           Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 6 of 37 Page ID #:6




                     (2) Did you raise this claim on direct appeal to the California Court of Appeal?                     ~ Yes      ❑ L'o
                    (3) Did you raise this claim in a Petition for Review to the California Supreme Court?                ~ Yes      ❑ No
                    (4) Did y-ou raise this claim in a habeas petition to the California Supreme Court?                   ~ Yes      ❑ No

              c:     Ground three:       ~ ~ _~.,,~~,~~~                               `                                                          i


                                  ~~         -               K)        \
                    (1) Supporting F,1CTS:

                          --                ~?P         OL~~~` C_~/1 PC~




                    (~j Did you raise this claim on direct appeal to the California Court of Appeal?                      ~:I'es    ❑No
                    (3) Did you raisz this claim in a Pztition for Review to the California Supreme Court?                  -Yes    ❑No
                   (~) Did you raise this claim in a habeas petition to the California Supreme Court?                     ~Y"es     ❑No


             d. Ground four:


                   (1) Supporting FACTS:




                   (2) Did you raise this claim on direct appeal to the California Court of Appeal?                       ❑Yes     ❑ No
                   (3) Did you raise this claim in a Petition for Review to the California Supreme Court?                 ❑Yes     ❑ No
                   (~) Did you raise this claim in a habeas petition to the California Supreme Court?                     ❑Yes     ❑ No


             e. Ground five:


                   (1) Supporting Fr1CTS:




                   (2) Did you raise this claim on direct appeal to the California Court of Appeal?                       ❑Yes     ❑ ~`o

Cl"-6y ~0~, 1,Y~               PET[TIO~'FOR ~~'RIT OF H~BE.~S CORPUS BY ,~ PERSON [~'STaTE CC~TODY (23 C.S.C. ~i 2'S-1)            P1~~ 6 of 11
           Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 7 of 37 Page ID #:7


                  (3) Di~i you raise this claim in a Petitio❑ for Re~ie~~- to the California Supreme Court?                      ❑Yes            ❑~;o
                  (-~) Did you raise this claim in a habeas petition to the California Supreme Court?                            ❑Yes            ❑~o


      9.    If any of the grounds listed in paragraph 8~were not previously presented to the California Supreme Court, state
            briefly ~chich grounds were not presentzd, and give your reasons: ~ ~f~




       10. Hate y-ou previously- filed any habeas petitions in any- federal court with respect to this judgment of conviction?
            ❑ Yes         ~ do
            If 50, glVe the follo~vinb infolmation foI each Such petition (usz a~~drtronal pages, ijnecessary, a„d attach copirs of the ptti~io~i~ quid

            the n~ling~ on tlir petitions ifavailr~blr):

            a. (1) Name of court:
                  (?) Case number:
                   ~3~ Satz f'llzd (qr fmailed, the Butz [he peYitiaii wns turned Deer to the prison authoritiesJor mai(ii?~:

                  (4) Grounds raised~u.;r~n~~,}:
                          (a)
                          (b)

                          (~)
                         (d)
                         (e)

                           ~~
                 (5) Date of decision:
                 (6) Result


                 (7)`b'as an evidentiary hearing hzld?                       ❑Yes ❑ No


           b. (1) Name of court:
                 (?) Case number:
                  ~3~ ~a[z t11eC~ (or iJmailed, the dc+tt tAe petition was hinlz~i over to thepriso~t aurhuritCesJor mailing):

                 (4) Grounds raised l~;~re~,~~~~:
                        (a)
                         (b)

                        (~)
                         (d)
                         (e)
                        (t)
                 (5) Date of decision:
C~"-oy ~)~.!31                  PETITIO\ FOR WRIT OF H_~BE_~S CORPCS BY.~ PERSON I\' STATE CUSTODY'(?3 C.S.C. 9 ?'-~~)                         Pipe - of 11
          Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 8 of 37 Page ID #:8


                 l6) Result


                 (') Vas an evidentiary hearing held?                          ❑Yes ❑ ~o


       1 1. Do y-ou have any petitions now pending (i.e., filed but not yet decided) in any state or federal court with respect to
            this judgment of conviction?                      ❑Yes          ~No
            If SO, gIVZ t~lZ {011OW1II~ IIltOCiridtlOri (~t~id attadt a copy of thapeCifior~ ifavuilabl~);

                 (1) I~'ame of court:
                 (2) Case number:
                  ~3~ ~3tz f112ej (or ~ m~iil~~f, the dote the petition wns turned over Yo tliz prison autlioritie;for mailing):

                 (=~) Grounds raised (1r~r ~~zd,):
                         (a)
                         (b)
                         (c)
                         (d)
                        (e)
                        (t)


      12. Are you presently represented by counsel?                           ❑Yes ~No
           Ir so, provide name, address and telephone number:




      WHEREFORE, petitioner prays that the Court grant petitioner all relief to which he maybe entitled in this proceeding.




                                                                                            Signature ofAttorney (ifany)



     I dzclare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.




     Executed nn          ~p~ `          ~1 ~                                                  ~
                                        Dote                                                          ignature ofPetitioner




C~'-o9 IU~,13i               PETITION FOR WRIT OF HaBE.~S CORPCS BY A PER~O~[\ ST.~TE CL-STODY (23 C.S.C. ~ 2 5-4)                 Page 3 of 11
                    Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 9 of 37 Page ID #:9




                        1~ Y \,1P~~ ~1
                                  Petitioner
                                                                                       DECLARt1TI0~ IN SUPPORT
                                                                                               OF REQUEST
   -                ~6 '~ \P`                                                                  TO PROCEED
                            R~sponde~it(s)
                                                                                          ITV FORMA PA UPERIS


       1~                    ~                                           ,declare that I am the petitioner in the above entitled case;
 that in support of my motion to pros d without being required to prepay fees, costs or give security therefor, I state that
 because of my poverty I am unable to pay the costs of said proceedinb or to gi~-e security therefor; that I believe I am
 entitled to relief.


 1. .ire you presently employed? ❑Yes                 ~No


       a. If the ans`~-er is yes, stage the amount of your salary or wades per month, and give the name and address of your
              employer.


       b. If the answer is no, state the date oElast employment and the amount of the salary and wages per month which
              you received. _ fj~


2. Have you received, within the past twelve months, any money from any of the following sources?

       a.    Business, profession or form ofself-employment?             ❑Yes      [~ No
       b. Rent payments, interest or dividends?                         ❑Yes       ~ No
       c. Pensions, annuities or life insurance payments?               ❑Yes       ~ No
       d. Gifts or inheritances?                                        ❑Yes       ~ No
       e.    Any other sources?                                         ❑Yes       ~ No


       If the answer to any of the above is yes, deseribe each source of money and state the amount received from each
       durin; the past twelve months:




3. Do you own any cash, or do you have money'in a checking or savings account? (Include anyfunds in prison accounts)

       ❑ Yes         I~ No


C.~ -0`1 I LL 13~            PETITION FOR ~~ RIT OF H.aBEAS CORPUS SY:~ PER~O~ I`STATE Cl'~TODY(23 C.S.C. ~ 2_'3-~)         Pzg~ 10 of 1 C
          Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 10 of 37 Page ID #:10


          Ii the answer is yes, state the total value of the items owned:




   ~. Do you o~~~n any real estate, stocks, bond, notes, automobiles, or other valuable property? (Excluding ordinary

          householdfurnis{zings and clothing) ❑Yes      ~No
          If the answer is yes, describe the property and state its approximate value:




  5.     List the persons who are dependznt upon y-ou for support, state your relationship to those persons, and indicate ho~v
         m uch you contribute toward their support:




        I dec]are (or certify, verify, or state) under penalty of perjury thaC the foregoing is true and correct.
        Executed on
                                Date                                              Si natclre ofPetitioner




                                                            CERTIFICATE
        I hereby certi~~ that tl~e Petitioner herein has the sum of ~                                           on account to his credit
 at the                                                                                                         institution where he is
 confined. I further certify that Petitioner likewise has the following securities to his credit according to the records of said
 institution:




                                1 ~ ,•i°I
                       DcZ to                                                  Authorised Officer ofI stitution/Title of Officer




C:l'-u~i i 0~. ;41        PETITION FOR ~~RIT OF H.aBE.~S CORPCS BY'~1 PER~O\ I\ STATE CCSTODY (?3 C.S.C. 9
                                                                                                           ~-'~-~)                 Pa;e l l of L 1
      Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 11 of 37 Page ID #:11
                   F r✓~ G T~ ~l c(JW~
                   '                         1        ~            !7
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Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 12 of 37 Page ID #:12
                                                               SUPREME COURT
                                                                        ~! LED
                                                                         OCT 2 4 201
                                                                    Jorge Navarrete Clerk

                                       5249692
                                                                           Deputy

       IN THE SUPREME CO~uTRT OF CALIFORNIA

                                       En Banc


                        In re SOPHIE UY on Habeas Corpus.


     The petition for writ of habeas corpus is denied.

     Corrigan, J., was absent and did not participate.




                                                         ~ANTIL-SAKAUYE
                                                         ChiefJustice
Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 13 of 37 Page ID #:13




            Ii~1 THE COLRT OF APPEAL OF THE STATE OF CALIFORNIA

                                 SECOND APPELLATE DISTRICT             COURT OF APPEAL -SECOND DIST.

                                                                             ~~
                                       DNISION FIVE

                                                                           JOSEPH A. LANE, Clerk
                                                                        k ~:fJic~rC     Deputy Clerk
    In re ~OPHIE UY                                 B288985

              on                                   (Super. Ct. No. NA100656)

             Habe?s Go,-r»
                        r ,~
                           ~•                      (T.aiira T . Tze~e~.kPj T,1r~gPl




    THE COURT:
            The court has :read and considered the petition for writ of habeas corpus
    filed   arch 26, 2018.. On its own motion, the court takes judicial notice of the
    files a~ d records in P~~ople v. Uy, Los Angeles Superior Court case No.
            i
    NA100656. The petition is denied. Having entered a plea, petitioner may not
    challe ~ ge the sufficiency of the evidence supporting her conviction. (See Pen.
    Code, § 1237.5;In re Sandel(1966)64 Cal.2d 412, 413, fn. 1.) The record
    indica es petitioner was sentenced to 16 months in prison for count 2 and 16
    month in prison for count 14. Because petitioner's crimes are violent felonies,
    she is statutorily limited to conduct credits of no more than 15 percent. (Pen.
    Code, ~§ 667.5, subd, (c)(21), 2933.1.)


                mac..~
                     t                     ~'t~~"'~.''                      lG~~t
                   Acting P.J.              MOOR,J.                           KIM, J.




        Judge of the Los .Angeles Superior Court, assigned by the Chief Justice
        ua~~t to article VI; section 6 of the California Constitution.
Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 14 of 37 Page ID #:14
Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 15 of 37 Page ID #:15




                   -.~"


              .- 7-. v,         .}
            Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 16 of 37 Page ID #:16

                                                                                                                                                                               .~
                                             FELONY ABSTRACT OFJUDGMENT—DETERMINATE
                                    (NOT VAL1D WITHOUT COMPLETED PAGE TWO OF CR-290 ATTACHED)                                                                              CR-290
    SUPERIOR COURT OF CALIFORNI/t COUNTY OF:
    LOS ANGELES
                                                                                                                                                    ~ ~. ~.
     PEOPLE OF THE STATE Of CALtFORNiA vs.                     DOB: O$-04-19$2
     ~EFENOANT'                                                                             NA 100656-01                  -A                             r ~~I!
                                                                                                                                                    ;~~ ''
      SOPHIE IIY
     nw~:                                                                                                                 -B
     cuuo.: AXXXXXXXX
      BOOKING NO.: 42S JSOS                                          ~ NOT PRESENT                                        _C                             `
     FELONY ABSTRACT OF JUDGMENT                                ~ AMENDED
    ✓ PRISON COMMITMENT
    ~                                  ~ COUNTY JAIL COMMITMENT  ABSTRACT                                                 -D

     DATE OF HEARING                           DEPT. NO.                                     JUDGE
    04-22-2015                                 036                                           CMR, KRISTI LOUSTEAU
     CLERK                                     REPdRTER                                      PRORATION N0. OR PROBATION OFFICER                ~ IMMEDIATE SEFlTENCING
    SHONDA TAYLOR                              BERGUNDY DAY                                  X-1777606
     COUNSEL FOR PEOPLE                                                                      COUNSEL FOR DEFENDANT                         -                 Q APPOtNTE~
    SAEED D TEYMOURI                                                                         RUBENIA G MEJIA
7. Defendant was convicted of the commission of the following felonies:
        LJ Additional counts are listed on attachment                                                                     w          —              }
                   (number of pages attached)                                                    coNv~c~o er              ~    ~~ ~~ ~         f    ~              PRWCIPI1L Ofl
                                                                                                                f~    a   ~       ~ ZO
                                                                                                                               u ~u            .s
                                                                                                                                                -    W
                                                                                                                                                     i       W     Cp/SKUiNE
                                                                                                                ~S    ~             ~ F-       a             '
                                                                                                                                                             ~     7~ME IMPOSm
                                                                                      DATE OF     N   ~    q    ~1    ~
                                                                                                                      ,   O    ~~ ~ ~ C             ~J       ~~
                                                                                                                                                             .j
 Cd1NT      CODE     SEC110N NO.                                     YEAR CRIME
                                               CRME                                 CONVICTON     i   ~    'Y         O   V    ~ ~~ w LL       ~    ~        7
                                                                     COMN(TSED     (NOAATFJYR)        V    S          V   ~    ~      z             y        Q     YR3.      MO$.

 O1         PC     459•            1 ST DEG B[,RGLARY,                 2014        04 122 / 15             X    U                                   X        X      6
                                   PERSON PRESE~iT                                    / I
02          PC     459*            I ST DEG BURGLARY,                  2014        04 /22 / l5             X    M                                   X        X         I      4
                                   ?ERSON PRESENT
 14         PC     459'            1ST DEG BURGLARY                    2014        04!22 / l5              X    M          X                        X        X         1      4
                                   PERSON PRESENT
2. ENHANCEMENTS charged and found to be true TIED TO SPECIFIC COUNTS (mainly in the PC 12022 series). Llst each count enhancement
   norizontaiiy enter time imposad,"S'fcr stayed, or"PS" for punishment st~!ck. 00 NOT LIST ENHANCEMENTS FULLY STRICKEN by the court.

                                             TIME IIVIPOSEO,                                 T1ME IMPOSED,                                 TIME
    COUNT              ENHANCEIAENT           ^S," or"PS"           ENHANCEMENT                                     ENHANCEMENT        IMPOSED,"S,"               TOTAL
                                                                                              •S," a'PS"
                                                                                                                                          or"PS'
l             1202?.( PC                           2                                                                                                     2




3. ENHANCEMENTS charged and found to be true for RRIOR CONVICTIONS OR PRISON TERMS (mainly in the PC 667 series). List all enhancements
   hcrizentally. Enter time imposed,"S" for stayed, or "PS" for punishment struck. DO NOT LIST ENFfANCEMENTS FULLY STRICKEN by the court.

                                      T1ME IMPOSED,                                      T1ME IMPOSED,                                TIME
            ENHANCE6IENT               •5," or"PS"              ENHANCEMENT               .~ ~, o~,.Ps..        ENHANCEMENT            „~.IMPOSED,
                                                                                                                                           «.PS
                                                                                                                                              .                   TOTAL




4. Defendant sentenced ❑ to county jail per 1170(h)(1) or (2)
   Q✓ to prison pert 17o(a), 1170.1(a) or 1170(h}(3) due to Q wRent or prior serious or violent felony ~ PC 290 or ~ PC 186.11 enhancement
      per PC 667(b)-(i) or PC 1770.12(strike prior)
        per PC 1170(a)(3). Preconfinement credits equal or exceed time imposed.[] Defendant ordered to report to local parole or probation office.

5. INCOMPLETE SENTENCES)CONSECUTIVE
              couNrr              CASE NUMBER                                     6. ~   TOTAL TIME ON ATTACHED PAGES:

                                                                                  7. ❑ Additional Indeterminate term (see CR-292).
                                                                                  g      TOTAL TIME:                                                10             8
                                            Attachments may be used but must be referred to in this document.                                                          P.ga ~ or x
Form ACopted for Mantletory Use
  J uGici31 Council of Caldomia                        FELONY ABSTRACT OFJUDGMENT—DETERMINATE                                                                     g+z3~~zis.s
     ca-s90 ~RBv. x,iy i,zai z~
        Case 2:19-cv-00114-AFM Document 1 Filed 01/07/19 Page 17 of 37 Page ID #:17

        s

                                                                                                                         ~                                       CR-290
    EOPLE Cf THE STA'E OF CALIFORNIA vc.                                 ;

~  oEFE"°^r'7. SOPHIE UY
                                                                               ILB:c~5t bfc9-baed-46a7-932t~0t60b54d074b                                                  -D
 NA 100656-01                      -A
9. FINANCIAL 08LIGATIONS (plus any applicable penalty assessments)'
a. RestftuUon Fines:
Case A: 3 300     per PC 1202.4(b)(forthwith per PC 2085.5 if prison commitment); S 300                  per PC 1202.45 suspended unless parole is revoked.
        S         per PC 1202.44 is now due, probation having been revoked.
Case B: S              per PC 1202.4(b)(forthwith per PC 2085.5 if prison commihnent); E                 per PC 1202.45 suspended unless parole is revoked.
        3              per PC 1202.44 is now due, probation having been revoked.
Case C: S              per PC 1202.4(b)(forthwith per PC 2085.5 if prison commitment); $                 per PC 1202.45 suspended unless parole is revoked.
        $              per PC 1202.44 is now due, probation having been revoked.
Case D: $              per PC 1202.4(b} {forthwith per PC 2085.5 if prison commitment); $                per PC 1202.45 suspended unless parole is revoked.
            g          per AC 1202.44 is now due, probation having been revoked.
b. Restitution per PC 1202.40:
Case A: $                   ❑ Amount to be determined                    to     ❑ victim(s)'         ❑ Restitution Fund
Case B: b                   ❑Amount to be determined                     to     ❑ victim(s}'         ❑Restitution Fund
Case C: $                       ❑Amount to be determined                 to     ❑ victim(s)'         ❑ Restitution Fund
Case D: $                       ❑Amount to be determined                 to     ❑ victim(s)'     ❑Restitution Fund
          ❑ ~ Vctim name(s), if known, and amount breakdown in item 13, below.               ❑ ~Victlm names) in probation officer's report.
c. Fines:
Case A: S         per PC 1202.5 S           per VC 2355Q or          days ❑county jail ❑prison in lieu of fine ❑ conwrrent ❑consecutive
                includes:   ❑5,Lab Fee per HS 11372.5(4) ❑ S                         Drug Program Fee per HS 11372.7(4} for each qualifying offense
Case B: S              per PC 1202.5 $              per VC 23550 or            days ❑aunty Jail ❑ prison in lieu of fine ~ concurrent ❑consecutive
            ❑ includes:     ❑$~Lab Fee per HS 11372.5(4) ❑ y                        Drug Program Fee per HS 11372.7(4) far each qualifying offense
Case C: 5              per PC f 202.5 $                per VC 23550 or         days ❑county jail ❑prison in lieu of fine ❑concurrent ❑consecutive
            ❑ includes:     ❑$~Lab Fee per HS 11372.5(4} ~ $                          prug Program Fee per HS 11372.7(4) for each qualifying offense
Case ~~ 5          per PC 1202.5 5      per VC 23550 or          dais ❑county jail ❑ prison in lieu of fine ❑concurrent ❑consecutive
          ❑ includes: ❑y _Lab Fee per HS 11372.5(4} ~ g               Drug Program Fee per HS 11372.7(4) for each qualifying offense
d. Court Operations Assessment: S 12~ per PC 1465.8. e. Conviction Assessment:$~ per GC 7Q373. f. Other: $~ per (specify):
10. TESTING: ❑ Compliance with PC 296 verified ❑AIDS per PC 1202.1                     Q other (specify}: DNA PER SEC 296 PENAL CODE
1 1. REGISTRATION REQUIREINENT: Q per (specify code section):
12.Q MANQATORY SUPERVISION: Execution of a portion of the defendant's sentence is suspended and deemed a period of mandatory supervision
  under Penal Code section 117o(h)(5)(8) as follows (specify total sentence. porfiort suspended, and amount to 6e served forthwith
  Total                                   Suspended                                           Served forthwith:

13. Other orders (specify):
                                                                                1R (^RFIIfT F('1R TIIUF CFRVFn

                                                                                    CASE           T07ALCREDITS       ACTUAL                LOCAL CONDUCT
                                                                                                                                                       I   1    2933
                                                                                      q          202              1Q1                (Ol               I 1 2sa3.i
14. I~LIMEDIATE SENTEHCiNG:Q Probation to prepare and submit a                                                                                                  4Gi9
    post-sentence report to CDCR per 1203c.                                                                                                            l I 29a~
                                                                                      g                                                                [ ~      2933.1
    Defendant's race/national origin: OTT-IER AS[AN                                                                                                    ( I      4019
                                                                                                                                                       I I      2933
15. EXECUTION OF SENTENCING IMPdSED                                                   C                                                                f I ~~.i
                                                                                                                                                                4019
     a- ❑~ at initial sentencing hearing
                                                                                                                                                       ~   j    2933
     b. ❑ at resentencing per decision on appeal                                      D                                                            f I zsa3.i
     c. ❑after revocation of probation                                                                                                             I I 4019
                                                                                           Date Sentence Pronounced            Time Served in State Institution
     d. ❑ at resentencing per recall of commitment(PC 1170(d).)                                                                   ~H           CDC         CRC
                                                                                            O4      22     LS
     e. ❑other (specify):                                                                                                        I      I      (   1

1 7. The defendant is remanded to the custody of the sheriff Q forthwith ❑after 48 hours excluding Saturdays, Sunda~r,'~'ad~ h~fj~.A~A~,
                                                                                                                                       ''~,,~
     7o be delivered to Q the reception center designated by the director of the California Department of Corrections arm ~p+h'   i~~Yc ~4,
                         ❑ counryjail           ❑other (specify):                                                     r               G:
                                                                                                                           '~~"~ ~''•~.~ ~'h,

                                                                  CLERK OF THE COURT                                           30, `~' :~;;, ~,,, °•                   '~' ~'
  hereby certify the for    ing to be a corn       abstract of the judgment made in this action.                                 '"";.~            ~ •~         ~      ~ .~
DEPUTYS SIGNATURE                    4         ~             ~                     DATE                                         ~ ~'~'~            j ~              ~~.:~~ ;
                                                                                   OS-OS-2015                                        ~7+~':,               •/          .~ M„
CR-290 ~RBv, JWy 1, 201zi                          F      ONY ABSTRACT OF JUDGMENT-DETERMINATE                                          .f`;'          .....•~'°~.f
                                                                                                                                            ..........
                                                                                                                                            C'~        RN~~~
                                                                                                                                                   L!FO
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      ..a- ~ ~ .n   _ ~- .~ _ ~~?~ d -~ _ '--fit~ _ .,-~~.r,~l- ~ _t _ t,,~..~~   __
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     v   -. " .1 i"-
                         •'                 ~
                                                            1
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                                          ---------------------------------------------_~m
 ~::~1,'~~ 1.~0. ~~~100656
   -i'~f= ?~~_OFL~ Or IHE STATE OF CALTF~RNZA
                              VS.
 I yl=iFENDANT Ol: SOPHIE UY
 :



 Plr.;f~iC F'RO TUfVC ORDER PREPARED. IT AP~'EARI~~1C TO THE COU~ZT TFiA~ THE MINUTE ORDc2

 .l:"i T1-1E AEOVE ENTITLED ACTION D0~5 NOl" PRC?ERLY REiLECT T, CIE COURT'S ORDEP.. SRId
 ~'~1_IfJJZ"E C~tDCR IS AMENDED NUNC PRO TUNC AS CF THAT DATE. ALL OTH~f2 ORDERS ARc TO
    'r~l~./~Inl IPJ FljLL FCTRCE AND EFFECT. DETAI?~ LISTED ~=~i EI~~ OF Ti-!IS MINUTE ORDE?.


 ~„hI:L. APPEARANCE             AMOUNT      DATE      RECEIPT 0;~   SURETY COMPANY   RESISTER
          DATE                  OF BAIL     P05TED      BdPJD NG.                     NUM6ER

      1?_/i7/14            X200,000.00 12/17/la ~s50013%?~37 r-~r~,?N cas ~ suR l~vc    14351007
 CASE FILED ON 10/30/14.

 CO~'~'IPLAINT FILED, DECL,4RED OR S~~JORN 7C CHARG~N~i f7~FE~~AUr ~~IiTN HAVING COMf~I7~TED,
   ~!`I rJR ABOUT ~O/09/14 IN Ti~E COUNT' OF LGS ~~~NG~L~S, THE FOLLOWING OFFENS~(5)
 C~ 1=

'"C~'JIVT O1: 459 PC FEL
C:OJNT 02: 459 PC FEL
CUJIVT 03: 459 PC FEL
COUNT 04: 475(C) PC FEL
COtJIVT 05: 530.5(C)(2) PC FEL

 C:OIfNT   06: 11350(A) H&S FEL
 C:0lANT   n 7: 1
           0    ,1 1364.1.(A)(1) H&5 MISD
`~.:~ ~~:T l:4:   `t.i~   r~   F'LL
C~E.~NT 09:       459     PC   FEL
:.:OI~IV~
+         10:     459     PC   FEL
tOl1NT 11:        459     PC   FEL
C:oUNT l~:        459     PC   FEL
C:OUIVT 13:       459     PC   FEL
C:O~ANT 14:       459     PC   FEL



r'N 0?%22/15 AT            830 AM     IN CRIM JUSTICE CTR (LAC) QEFT 036

GASF_ CABLED FOR PRELIM SETTING/RESETTING

r.'~l~.TIES: CMR. KRISTI LOUSTEAU (JUDGE) SHONG.4 TAYLOR (CLERK)
             B ERGUNDY DAY (REP)     SAEED D. TEYMOURI (DA)

STIPULATED THAT CMR. KRISsI LOUSTEAU (JUDGE) M~1Y HEAR THE CAUSE AS T~~PURARY
                                                  PRELIM SETTING/RESET-TING
                              PAGE N0.   1        FIEARING DATE: 04/22/15
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     .i'.~ ~~E

     )~E= Ei~'GAP~1T 9S ~<~S~P~JT r fJ C~CPE2T, ~idC~ ~.E~P.~S~iViE93 B'r' R~J3~N~;=~ G "NI~~I', ~~PU~~ c'1~~ =
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      ~~~~.rd~,E~
 !
 ')tFEI~IUAN~ WAIVES FURTHER fi,RR,4IGN~~Ni,

 J ~FEItiC~ANT ,^-,vV~SED OG AND PERSONALLY AND EXPL?'CITLY In~AIVES ENE FOLLOI~~ING RIG~1T5 ~'

 ~dt~±17EM11 ,4~VISEMENT OF RIGHTS AND W,'~IVERS FILED, I:NCORPOR.,~`,TED 3Y REFERcNCE
 -NFU
 P        FT(~


     -1~~,4L RY COURT AND TRIAL 8Y JURY


 C=0fVF20~I~ATION A~1D CRO55-E.'~AMINATION 0~ WITNESSES;

 S~GPCEf~A 0~ WITNESSES INTO COl!RT TO TESTIFY IN Y~fJR DEFEfVSE;

!
-AGAINST SELF-INCRIMINATION;

 UEFENGANT ADVISED OF THE !FOLLOWING:

l-i~C NAT[~RE OF THE CHARGES AGAINST HIM, THE ELEMENTS OF THE OFFENSE IN THE
COMPLAINT, ~,ND POSSIBLE DEFENSES TO SUCH CHARGES;

l"HE PGSSI3LE CONSEQUENCES OF A FLEA OF GUILTY DR NOLO CONTENDERS, INCLUDING THE
  ~`~RAXybiUM PENALiI' AND ADMINISTRATIVE SANCTIO~JS AND THE POSSIBLE LEGAL EFFECTS
~'~ND MAXIMUM PENALTIES INCIDENT TO SUBSEQUENT CONVICTIONS FOR THE SAME OR
~~IMIL,~R OFFENSES;

l-I~iE EFFECTS OF PROBATION;

I:F Y~JU ARC NOT A CITIZEN, YOU ARE HEREBY ADVISED THAT A CONVICTION OF THE
OFFENSE FOR WHICH YOU HAVE BEEN CHARGED WILL HAVE THE CONSEQUENCES OF

DcPORTATION, EXCLUSION FROM ADMISSION TO THE UNITED STATES, OR DENIAL OF
NATURALIZATION PURSUANT TO THE LAWS OF THE UNITED STATES.

CaUNSEL FOR THE DEFENDANT JOINS IN THE WAIVERS AND CONCURS IN THE PLEA.

`OURT FINDS THAT EACH SUCH WAIVER IS KNOWINGLY, UNDERSTANDINGLY, AND EXPLICITLY
 MADE;

THE DEFENDANT PERSONALLY WITHDRAWS PLEA OF NOT GUILTY TO COUNT Ol AND PLEADS
I~IOLO CONTENDERS WITH THE APPROVAL OF THE COURT TO A VIOLATION OF SECTION 459 PC
  IN COUNT O1. THE COURT FINDS THE DEFENDANT GUILTY.

COUNT (01)           DISPOSITION: CONVICTED

THC COIiRT FINDS THE OFFENSE IN COUNT Ol TO BE IN THE FIRST DEGREE.

l~HE DEFENDANT PERSONALLY WITHDRAWS PLEA OF NOT GUILTY TO COUNT OZ AND PLEADS
hIGLO CONT~NDERE WITH THE APPROVAL OF THE COURT TO A VIOLATION OF SECTION 459 PC
 Ih! CGIINT 02. THE COURT FINDS THE DEFENDANT GIiILTY.

                                                                      PRELIM SETTING/RESETTING
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 C=;JI~i~!i ~QZ} ~ ~~S~OSre2JI~d ; C~if~P:ETC ~ ~D

 i-'ri ~~ COC1F~ i`1P1DS T~4~ Ci=r~vSE IN COtJIJi ~~ i'C?
                                                          ~'~ TIC; T~fe FIRST J~G12~~a
  C)[~~ENDANT     ~L~ADS   NOT    GI~ILTY   TO   COUNT     d4,   475(Cl aC.
  U E~=ENDANT     PLEADS   NQT    GUILTY    TO   COUNT     05,   530.5(C)(2) PC~
  L )E~ENDP~NT
  '               PLEADS   NOT    GUILTY    TO   COUNT     06,   113~0(A) H&S.
  C)EF=ENDANT     PLEADS   NOT    GUILT`(   TQ   COUNT     07,   I13G4.1(a)(1) H&s.
  C~F_FENDANT     PLERDS   NOT    GUILTY    TO   COUNT     OS,   459 PC.
 D ~1=ENGANT      PLEADS   f~QT   GUILN     TO   CQU~~iT   O~.   ~~9 PC.
 ~:~~~i~ENCANT    PLEADS   NOT    GUILTY    TO   COU~JT    10,   459 r'C.
 D ~FENL'ANT      PLEADS   NOT    GUILTY    TO   COUNT     11,   459 PC.


 i~~lE~ ~EFENDRNT PERSONALLY WITHDRAWS PLEA OF NOT GUILTY
                                                              T~1 COUNT 14 laN~ PLEADS
 ~~101_~'J CONTENDE~~ WITH THE APPROV/~L OF THE COURT T~J A
                                                            VIOLATION OF SECTION 459 PC
   ~"v CGfJ~1T 14. THE COUo2T BINDS TFIE DEFENDANT GUILTY.

 CU;~IV7 (14)         DISPCISITION: CONVICTED

 ~ Hc ~~JUf2T F?NDS T3-iE OFFENSE IN COUNT 14 TO BE IN THE FIRST
                                                                 DEGREE.
COI~R~ ACCEPTS PLEA

iIF~EN~ANT ADMITS THE SPEC~,e,L ALLEGATION OF PENAL CODE SECTIQN
12U22.?.

PJF_XT SCHEDULED EVENT:
S EN7~IVCING

D EFENr7ANT WAIVES ARRAIGNMEfVT FOR JUDGMENT AND STATES THERE
                                                              IS NO LEGAL CAUSE
WHY ScNTENCE SHOULD NOT BE PRONOUNCED. THE COURT ORDERED THE
                                                                FOLLOWING
J UDGMENT:

IMPRI50NED IN STATE PRISON FOR A TOTAL OF 10 YEARS AND
                                                                                8 MONTHS
/,5 TO THE BASE COUNT             (01}:

COURT ORDERS PROBATION DENIED.

SEi2VE 6 YEA6Z5 IN ANY STATE PRISON

COlJRT SELECTS THE UPPER T~RM OF 6 YEARS AS TO THE BASE TERM COUNT
                                                                   O1.
  D EFGN~JANT GIVEN TOTAL CREDIT FOR 202 DAYS IN CUSTODY 101 DAYS
                                                                  ACTUAL CUSTODY
A,ND 101 DAYS GOOD TIME/WORK TIME

PL115 $40.00 COURT OPERATIONS ASSESSMENT (PURSUANT TO 1465.8(A)(1)
                                                                   P.C.)
,30.00 CRIMINAL CONVICTION ASSESSMENT (PURSU~~i~T TO 70373 G.C.)
?

TEf~IPORA~Y COMMITMENT ISSUED.

TOTAL DUE: $70.00

                                                                       PRELIM SETTING/RESETT±NG
                                            PAGE N0.         3         HEARING DATE: 04/22ji5
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 [}       —   'jJ~t
                                                                             Jib. . _   ~~~~'~ l -= _   J`~'/5~~-5



  ~ ~`d   ~G~J1Il~~A! o


    ~,~ ~~F~I~IC~Af~lT IS I0 MAKE RCSsTTU~IOPJ ~0 THE ~/ICTIM '=~RSUA~T
                                                                        ~0
  F%EPlA~ CO~~ SECT~OPd 1Z('JZ.4(F), ~Eg CIVTL 7UDGi~1~NT AG,'aIfJST
                                                                        Y0~1.
 !-I~lI;V~Y W~rVER GIVEN

 c::l)UR'i ORDERS AND BINDINGS:

  - r~URSUp.N7' TO PC SECTION Z96, THE DEFENDANT l5 04D~R~D TO PROVIDE
   l'lC_~',.°. S!rJAa :sAM~I ~c n 2T ,;4 T!-~tj;~~ ?~~;.J
                                                        ; , .~. .-~~~= ~r"„_;~1 ~'R.i.V1
 :I~iv~F'RLSSION OF EACH NAND, aNY BLOOD SPECIM~PJS Est OTHER BIOLO~
                                                                                         CAL
 ~„"~;~iFLES AS REQUIRED BY THIS SECTION FOit SAW EN~ORC~MENT

 I:17 ~~4TI FICATION .

-Ts;E DEFENDANT IS TO PAY A RESTITUTION FINE PURSUANT TO SECTION
!.~'Q~.4(B) PENAL CO~~ IN ?HE ANtOUNT OF $300.Q0.

-Th@~ DEFENDANT IS TO PAY A PAROLE/POSTRELEASE COMMUNITY
S UPERVISION/MANDATORY SUPERVISION RESTITUTION FINE PURSIiANT TO
S ECTI~Jf~ 1202.45 PENAL CODE IN THE AMOUNT OF $ 300.00 SAID FINE
 IS ORDERED STAYED UNLESS PAROLE, POSTRELEASE COMMUNITY
S UPE~2'✓~SION OR MANDATORY SUPERVISION IS REVOKED.

P!L'NC PRO TUNC ORDER PREPAP.ED BY S.TAYLOR ON X4/30/15
F+S FOLLOWS:

SY ADDING THERETO:

FMS TO THE ENHANCEMENT, PURSUANT TO PENAL CODS SECTION 12022.1
D E.=EIVDANT IS TO SERVE AN ADDrTIONAL 2 YEARS IN THE STATE
PRISOtJ .

~.OUN7 (O1): DISPOSITION: CONVICTED


DMV ABSTRACT NOT REQUIRED

N EXT SCHEDULED EVENT:
PROCEEDINGS TERMINATED

D EFENDANT WAIVES ARRAIGNMENT FOR JUDGMENT AND STATES THERE IS NO LEGAC~ CAUSE
WHY SEUTENCE SHOULD NOT BE PRONOUNCED. THE COURT ORDERED THE FOLLOWING
J UDGMENT:

a,5 TO COUNT            (02)

COfJRT ORDERS PROBATION DENIED.

SEcVE 16 MONTHS IN ANY STATE PRISON

~Ol1RT SELECTS ONE-THIRD THE MID-TERM OF 48 MONTHS WHICH IS 16 MONTHS.

PLC15 $40.00 COURT OPERATIONS ASSESSMENT (PURSUANT TO 1465.8(A)(1) P.C.)

                                                                    PRELIM SETTING/RESETTIf~G
                                          P,~GE N0.      4          HEARING DATE: 04/22/15
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  `i 'C`. ~U ~I~~PJ~Ti~I~,L CvIJ',/~:'i~~ -'-1j~=~Sf~~=~J y (PU?S`.1~i~1
                                                                        ~ ~'~ lO~T"5 G ~ _~
 l~0~~.L ~ t,~ E: ~ 70.0r?

 i:~i~JS~CQ.iTIV~ YO ~I~~ PRINCi~~,L TERM,

 C:~~'NT (02): DISPOSITFON: CONVICTED

 ~)P~14~ ",~S~R.,~CT NOl- REQUIRED

 ~dEXT SCN~DULED EVENT:
 P~`JCE~dTNGS TERMINATED


  C~EFENGANT WAIVES ARRAIGNMENT FOfZ JUDGM~fVT ANG STATES
                                                                  THERE IS NO LEGAL CAi;S~
 ,~ +!I-i`( S~NTEf~'CE SNGULD NGT BL PRJfvOUIVCCD. Ti~E COURT OAD~RED
                                                                      THE FOLLC~VJIfVG
  J UD~~~IENT:

 ~~S T~ C4~NT      (14)

 ":O~I~T 02QER5 PROBATION DENIED.

  ~R:VE 15 P^ONiHS ?N aI~Y STATE FRISON

:
::O~~~T S~LEC75 ONE-THIRD ~H~ MID-TERM OF d8 MQNTHS WHICH 15
                                                             Z6 MONTHS.
 '
 'LUS $40.00 COURT OPER,4TION5 ASSESSMENT (PURSUANT TO 1465.8(A)(1)
                                                                    P.C.)
 ~ 30.0~ CRIMINAL CONVICTION ASSESSMENT (PURSUANT TO 70373 G.C.)

 ~'O~A~ DUE: $70.00

:=ORESECUTIVE TO THE PRINCIPAL TERM.

:OUNT (14): DISPOSITION: CONVICTED

 ~.EMAINING COUNTS DISMISSED:

    COUNT (03):        DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COiJNT (04):       DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COUNT (05):        DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COiJNT (06):       DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COUNT (07):        DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COJNT (08):        DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COUNT (09):        DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COUNT (10):        DISMISSED      DUE   TO   PLEA   NEGOTIATION
    CO!JNT (11):       DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COUNT (12):        DISMISSED      DUE   TO   PLEA   NEGOTIATION
    COUNT (13):        DISMISSED      DUE   TO   PLEA   NEGOTIATION

=;MV P,3STRACT NOT REQUIRED

>~EXT SCHEDULED EVENT:
='R4C~~DINGS TERMINATED

                                                                       PRELIM SETTING/RESETTING
                                            PAGE N0.       5           HEARING DATE: 04/2215
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                                                                                 14-2855                 o~zGn`"°
  SIGNAL HILL POLICE DEPARTMENT
 walked over to the mailboxes in front of 2261 Ohio Av2nu2. As Uy was standing over by the mailboxes in front o'
 2261 Ohio, the male passenger (later identified as Gary Rudan) exited the front passenger door and stood next t.
 the car looking up and down the street, keeping watch.
 As I watched Uy, she was wing a long object to pry open the mailboxes in front of 2261 Ohio Avenue. After
 reaching into the mailboxes, Uy walked back over to Rudan, and they got back into the vehicle. Uy drove oft
 westbound on Skyline Drive from Ohio Avenue, and Detective Poor followed the Chevrolet. i drove past 2261
 Ohio Avenue to follow Uy, and I could see the mailboxes in front of 2261-2267 were open, and they had not
 previously been open prior to the start of our surveillance operation.
 SHPD uniformed patrol officers conducted an enforcement stop on the Chevrolet at Grant Street and Obispo
 Avenue. I had Uy step out of the vehicle, and I walked her to the front of SHPD Officer M. Stone's (#40273) patrc
 vehicle. I asked Uy what she was doing out here and she stated she was looking for a place to run.
 SHPD Senior Officer K. Brown (#40166) and Officer T. Nadal (#40275) escorted Rudan from the vehicle. As
 was standing next to the driver's door of the vehicle, Senior Officer Brown handed me a stack of mail, she had
 recovered from the floorboard between the front passenger seat and the front passenger door (which was only in
 arms reach of Rudan). The mail was addressed to the resident ,(Carmen Hirciag) of 2261 Ohio Avenue, where
 had just observed Uy at the mailbox.
U pon further searching the vehicle, I located an AT&T payment envelope in the glove box. Inside the envelope
was a personalized check from Mami Yamagishi. The check was a Bank of America check (#1639), and had the
account number of                       on the bottom of the check. In the driver's doer panel I located several
flathead s~rev,idrivers, which matched the entry tool of the previous mailbox theft reports. In the rear cargo area
 the vehicle there were several packages from Home Depot Online addressed to a Blanca Campos. All the mall,
screwdrivers, and pack in the vehicle were photographed by Officer Stone.
While I was searching the vehicle, Senior Detective Noble contacted Carmen Hirciag at her residence regarding
the status: of her mailbox. Carmen advised Senior Detective Noble that she was previously a victim of mail theft.
Senior D~ective Noble asked Carmen if their mailbox had previously been vandalized, and she said it was.
Carmen was unsure if there was mail in her mailbox at the time of the theft, as she did not check her box on the
evening of 10-27-14. Senior Detectiye Noble asked Carmen if she knew either suspect, and she stated she did
not.' Senior Detectives Noble a_ ,. Carmen if she had given the suspects permission to possess her mail, and
she stated she did no~2rmen is desirous of prosecution for the theft of her mail.
After Detective Noble spoke with Carmen; Rudan was placed under arrest. Rudan was arrested for 182 PC -
Criminal Conspiracy and 496 PC -Receiving Known Stolen Property. Rudan was transported to SHPD by Office
Stone for booking.
At the scene, I asked Uy who Yamagishi was, and she stated she did not know. Uy stated she was given the
check to use. Uy was placed under arrest for 18-1708 US - Niail Theft, 182 PC -Criminal Conspiracy, and 496 P
 - Receiving Known Stolen Property. Prior to transporting Uy to SHPD, she told Sergeant Hefte "I am the only or
 that broke into the mailboxes. He _had nothing to do ~r~ith it." Uy also advised Senior Officer Brown and Officer
N adal that she had a methamphetamine pipe in her bra. Senior Officer Brown collected the pipe and kept it in hE
 possession until giving into Detective Poor. Uy was also placed under arrest for 11364.1(a)(1) HS -Possession
of Drug Paraphernalia
At the station, Detective Poor informed me of one of his cases (14-2801) involving Yamagishi being a victim of
identity theft. The report stated Yamagishi had a Kohl's account opened in her name without her authorization.
called Yamagishi about her check that I had found after I spoke with Detective Poor. I asked Yamagishi to come
in to the SHPD to speak with me regarding the incident.
At the SHPD I spoke with Yamagishi, and I showed her the check that I had found. i asked Yamagishi if she has
a Bank of America account, and she stated she did. Yamagishi gave me her B of A account number
(                   , and it matched the number on the bottom of the check. I asked Yamagishi if the signature o
the ottom of the check was hers, and she stated it was not. Yamagishi showed me her California driver's
license, and it did not match the signature on the check. I asked Yamagishi if she had given anyone permission
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 40203/MURK, JUSTIN                                       10/29/2014 15:30               Pa ge 5 of 6
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                                                                                            -11035
   LONG BEACH POLfCE DEPARTMENT

 On 2/21/15 at approximately 0816 hours, while working uniformed patrol in a marked black
                                                                                            and white police
 vehicle as Unit 1 B6, I (Officer M. Brunson #10240) was dispatched to 645 Pacific Avenue
                                                                                          regarding a burglary
 report (call #445).
 645 Pacific Avenue is a multi unit apartment complex. It has a locked glass door at the
                                                                                           front of the complex,
 which is oh the east side of the property. An access code or key is required to gain entry
                                                                                             into the building. The
 glass door enters into the lobby of the complex. There is a wall of mail boxes on the
                                                                                        north wall of the lobby. The
 lobby also have video surveillance cameras, which monitors the mail boxes and
                                                                                  the entry glass door.
 U on arrival, I contacted Witness #1 (later identified as Paul           who lives at the complex inside apartment
          Paul told me that at approximately 0800 hours, his daughter called him and told him
                                                                                                that someone was
 breaking into the mail boxes. Paul was standing outside in front of the complex at the
                                                                                         time, so he walked towards
 the front lobby entrance door. As he was walking towards the door, he saw an unknown
                                                                                            female subject exit the
 b uilding and leave in a black vehicle.
 Paul described the suspect as a female Black or Hispanic, approximately 30 years
                                                                                  old, with long brown hair in a
 pony tail, and wearing a gray hooded sweatshirt and blue jeans pants. The vehicle was
                                                                                        described as a black
 station wagon with either plat          or~. Th~'vehicle was last seen going southbound Pacific
 Avenue and made a right turn to go eastbound on 4th Street. The female suspect was
                                                                                       seen getting into the
 driver's seat of the vehicle.
 After speaking to Paul, I contacted Witness #2 (later~ntified as Jennifer
                                                                                       who is Paul's daughter and
 also lives in apartmen         Jennifer statzd at approximately 080( 9~~~ps-ush~ was monitoring the video camera
  in the lobby when she saw afemale--subject breaking into the mail boxes and stealing                            s
                                                                                        mail. She called her Dad
 and told him that someone was breaking into the mail boxes. The suspect then left the
                                                                                         complex.
 Jennifer described the suspect as a female Black or Hispanic, approximately 30 years old,
                                                                                                with long brown hair in
 a pony tai~~and wearing a gray hooded sweatshirt and blue jeans pants._
                                                           ,~~=
 Jennifer stated sne does not know ho~,~i to work the video surveillance system; therefore,
                                                                                             she would make a copy
 of the video on a flash drive and call dispatch when it ready to be picked up at a later time.
  observed the mail boxes, and I noted moil boxes
                 and were all~,    pried
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  placed the incident on the lah list for prints.
  provided Jennifer with a report receipt.
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                                                                                     15-11036                000ir:`°
 LONG BEACH POLICE DEPARTMENT
f (Detective J. Kennedy #6091) of the Burglary Detail was assigned this
                                                                         case to conduct afollow-up investigation.
 The main report indicates a female subject is seen on video surveillance
                                                                          entering the lobby of the building and
stealing mail.
  contacted the witness, Jennifer B~who provided me with a thumbdr
                                                                              ive containing video surveillance of
f he theft. B~,     ~,~showed me the banks of mailboxes located in the main lobby of the
                                                                                           building along the north
wall. I askea r~~ if there was a residence directly above the lobby
                                                                          and slie said there was. Sipe added it
w as unit #215. I asked B~ if she was home during the time
                                                                   the theft occurred. B~said she was in
her home when she observed the suspect breaking into the mailbox via
                                                                    es      the video surveillance monitor located
in her residence. When she observed the thief occurring she called her
                                                                         dad who was downstairs and he observed
 the suspect leaving and get into a vehicle. B~father took a cell
                                                                          phone picture of the license plate.
provided Boughner wifh my e-mail and asked her to have her father e-mail
                                                                             me the picture.
  viewed the surveillance video of the incident and saw a female subject enter
                                                                                the lobby wearing a grey sweater
black pants and pink running shoes. I immediately recognized this subject
                                                                             as Sophie Uy. I continued to observed
 as Uy walks over to the mailboxes and takes several pieces of mail that were
                                                                                on top of the mail boxes and places
 them into a blue Walmart bag. Uy then looks directly into the camera before
                                                                               using a screwdriver to pry open a
bank of mailboxes and empties the mailboxes contents into her blue bag.
                                                                            Uy then pries open a second bank of
mailboxes with the screwdriver and empties the contents of those mailbox
                                                                           es into her blue bag. Uy then walks out
of camera view for approximately 1 minute before returning into camera
                                                                         view. Uy then uses the screwdriver to
open a third bank of mailboxes and empty the contents of those mailboxes.
                                                                              Uy walks out of camera view and
exits the lobby.
 m aintained the thumbdrive in my possession until later placing it into evidenc
                                                                                 e.
U y is a suspect in numerous thefts of mail from apartment buildings in the
                                                                             City of Long Beach. For further refer to
DR #14-61937, #15-9471 and #15-10859. In DR #15-10859 and #15-9471,
                                                                                Uy is observed on video surveillance
using a screv~idriver to pry open banks of mailboxes. Also Uy is usually observe
                                                                                   d wearing pink running shoes like
she is in this surveillance video.
U y is also a suspect in several other thefts of mail from condominiums and
                                                                                   apartment buildings. Uy was arrested
on 10/28/14 in the City of Signal Hill for theft of mail. At that time Det D. Molinar
                                                                                         vas investigating Uy for similar
thefts in our city and filed 5 counts on Uy ~riith the District Aftorney's Office
                                                                                  (NA100656). Uy bonded out of custody
 and a short time later failed to show up at a scheduled court appearance. A
                                                                                     Niarrant has been subsequently
issued.




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                                  CALIFORNIA INSTITUTION FOR WOMEN
                                       PROOF OF SERVICE BY MAIL
                                  (C.C.P. § 1013a, 4015.5, Fed.R.Civ.P.S; 28 U.S.C. 1743)




 a m over the ale of eighteen yea.s, a citizen of the United States, a resident of the State of California
(A) and/and not a pasty to the within action. ti1y mailing address is: CALIFOR~`lIA I.^JSTITUTIO~J FOR
WOMEN, 16756 Chino-Corona Rd., Unit: L\~, , Room:~ Corona, CA 92830.

On the following date:(B)                                                       served the following document(s);(C)

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O n the interested parties in this action by placinb true copies thereof, enclosed in sealed envelopes,
addressed as follows to the following parties:(D)



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  a m readily familiar with the normal business practices for collection and processin of correspondence
a nd other materials for mailing with the United Statzs Postal Service. On the same day that
corrzspondence is placed for collection and mailing. In a sealed envelope with postage fully prepaid, it is
deposited in a box so proved at the correctional institution in which (am presently confined.

 certify or declare under penalty of perjury under the law of the State of California that the foregoing is
true and correct.

(E) Name:         )~.~ , ~,~~;~~ ~ p                     CDCR#: (,L~ ~~.-CCo
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Signed:                             ~                .Dated:




                              CI~V MAILROOM ACKNOWLEDGEMENT OF MAILING

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